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                        IN THE UNITED STATES BANKRUPTCY COURT
                          FOR THE SOUTHERN DISTRICT OF TEXAS
                                   HOUSTON DIVISION


In re:                                                               Chapter 11

WELLPATH HOLDINGS, INC., et al., 1                                   Case No. 24-90533 (ARP)


                                        Debtors.                     (Joint Administration Requested)


DEBTORS’ EMERGENCY MOTION FOR ENTRY OF AN ORDER (I) AUTHORIZING
 THE DEBTORS TO (A) HONOR AND INCUR OBLIGATIONS TO PROFESSIONAL
   CORPORATIONS AND (B) OBTAIN NEW PROFESSIONAL CORPORATION
CONTRACTS, (II) EXTENDING STATUTORY PROTECTIONS TO PROFESSIONAL
         CORPORATIONS, AND (III) GRANTING RELATED RELIEF

      Emergency relief has been requested. Relief is requested not later than 5:00 p.m.
      (prevailing Central Time) on November 12, 2024.
      If you object to the relief requested or you believe that emergency consideration is not
      warranted, you must appear at the hearing if one is set, or file a written response prior to
      the date that relief is requested in the preceding paragraph. Otherwise, the Court may
      treat the pleading as unopposed and grant the relief requested.
      A hearing will be conducted on this matter on November 12, 2024, at 5:00 p.m. (prevailing
      Central Time) in Courtroom 400, 4th floor, 515 Rusk Street, Houston, Texas 77002.
      Participation at the hearing will only be permitted by an audio and video connection.
      Audio communication will be by use of the Court’s dial-in facility. You may access the
      facility at (832) 917-1510. Once connected, you will be asked to enter the conference room
      number. Judge Perez’s conference room number is 282694. Video communication will be
      by use of the GoToMeeting platform. Connect via the free GoToMeeting application or
      click the link on Judge Perez’s homepage. The meeting code is “JudgePerez”. Click the
      settings icon in the upper right corner and enter your name under the personal information
      setting.
      Hearing appearances must be made electronically in advance of both electronic and in
      person hearings. To make your appearance, click the “Electronic Appearance” link on
      Judge Perez’s homepage. Select the case name, complete the required fields and click
      “Submit” to complete your appearance.




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    A complete list of the Debtors (as defined below) in these chapter 11 cases may be obtained on the website of the
    Debtors’ proposed claims and noticing agent at https://dm.epiq11.com/Wellpath. The Debtors’ service address for
    these chapter 11 cases is 3340 Perimeter Hill Drive, Nashville, Tennessee 37211.
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         The above-captioned debtors and debtors in possession (collectively, the “Debtors”)

respectfully state the following in support of this emergency motion (this “Motion”): 2

                                                 Relief Requested

         1.       By this Motion, and pursuant to sections 105(a), 362, 363 and 525 of title 11 of the

United States Code (the “Bankruptcy Code”) and rules 6003 and 6004 of the Federal Rules of

Bankruptcy Procedure (the “Bankruptcy Rules”), the Debtors seek entry of an order, substantially

in the form annexed hereto (the “Order”), (a) authorizing, but not directing, the Debtors to

(i) honor, pay, or otherwise satisfy any and all prepetition and post-petition obligations incurred in

relation to the Professional Corporations (as defined below), including obligations pursuant to the

Existing Professional Corporation Contracts (as defined below) and (ii) enter into and honor, pay,

or otherwise satisfy any and all prepetition and post-petition obligations related to attracting,

seeking, entering into, and maintaining New Professional Corporation Contracts (as defined

below), (b) extending the (i) automatic stay under section 362 of the Bankruptcy Code and

(ii) Anti-discrimination Provisions (as defined below), to the Professional Corporations on a

limited basis, (c) authorizing the applicable banks and financial institutions to receive, process,

honor, and pay all checks or wire transfers used by the Debtors to pay and satisfy the foregoing,

and (d) granting related relief.

                                             Jurisdiction and Venue

         2.       The United States Bankruptcy Court for the Southern District of Texas

(the “Court”) has jurisdiction over this matter pursuant to 28 U.S.C. §§ 157 and 1334 and the Order




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    The facts and circumstances supporting this Motion are set forth in the Declaration of Timothy J. Dragelin as
    Chief Restructuring Officer and Chief Financial Officer of Wellpath Holdings, Inc. and Certain of its Affiliates and
    Subsidiaries in Support of the Debtors’ Chapter 11 Petitions and First Day Pleadings (the “First Day Declaration”)
    filed contemporaneously herewith and incorporated by reference herein. Capitalized terms used but not otherwise
    defined herein shall have the meanings ascribed to them in the First Day Declaration.



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of Reference to Bankruptcy Judges, General Order 2012-6 (S.D. Tex. May 24, 2012)

(Hinojosa, C.J.).

         3.       This matter is a core proceeding pursuant to 28 U.S.C. § 157(b). In addition,

the Debtors confirm their consent to the entry of a final order by the Court in connection with this

Motion to the extent that it is later determined that the Court, absent consent of the parties, cannot

enter a final order or judgment in connection herewith consistent with Article III of the United

States Constitution.

         4.       Venue of these chapter 11 cases and related proceedings is proper pursuant to 28

U.S.C. §§ 1408 and 1409.

                                                   Background

         5.       Wellpath is the premier provider of localized, high quality, compassionate care to

vulnerable patients in challenging clinical environments. Wellpath is the leading medical and

mental health services provider in correctional facilities, inpatient and residential treatment

facilities, forensic treatment facilities, and civil commitment centers. Headquartered in Nashville,

Tennessee with operations in approximately 420 facilities across 39 states, Wellpath provides

outsourced solutions to the correctional healthcare and behavioral healthcare industries. Wellpath

offers an array of healthcare services to its federal, state, and local government partners, including

on-site medical services, telehealth and mental health programs, and pharmacy management.

Wellpath employs more than 13,000 people and serves nearly 200,000 patients daily. 3

         6.       On November 11, 2024 (the “Petition Date”), the Debtors filed voluntary petitions

for relief under chapter 11 of the Bankruptcy Code.




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    Additional information about the Debtors’ businesses and affairs, capital structure, and prepetition indebtedness,
    and the events leading up to the Petition Date, can be found in the First Day Declaration.


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       7.      Contemporaneously herewith, the Debtors have filed a motion requesting joint

administration of these chapter 11 cases pursuant to Bankruptcy Rule 1015(b) and rule 1015-1 of

the Bankruptcy Local Rules for the United States Bankruptcy Court for the Southern District of

Texas (the “Bankruptcy Local Rules”). The Debtors are operating their businesses and managing

their properties as debtors in possession pursuant to sections 1107(a) and 1108 of the Bankruptcy

Code. No request for the appointment of a trustee or examiner has been made in these chapter 11

cases and no statutory committee has been appointed or designated.

                                 The Professional Corporations

       8.      A material portion of the Debtors’ revenue is derived from providing management

and administrative services to various affiliated entities that, in turn, provide medical services to

patients. Because the Debtors operate nationwide in the United States, they are subject to a variety

of state laws regulating entities that administratively support medical providers, practice medicine,

or both.    To comply with the variety of laws regulating their businesses and contractual

arrangements, the Debtors utilize a structure commonly known in the industry as a “friendly

professional corporation” structure, pursuant to which the Debtors contract with and provide

various management and administrative services to professional entities (collectively,

the “Professional Corporations”) that are owned exclusively by licensed physicians affiliated with

the Debtors (collectively, the “PC Physicians”) in accordance with applicable requirements. This

structure provides the Debtors with certain control over the non-clinical business management and

administrative functions of the Professional Corporations, while allowing the PC Physicians to

focus on providing high- quality medical services to patients rather than managing the non-clinical

aspects of the Professional Corporations. In these arrangements, the PC Physicians are either

employed directly by the Professional Corporations or are separately employed directly by the

Debtors pursuant to typical employment agreements for non-clinical services.



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       9.       As of the Petition Date, the Debtors provide management and administrative

services to 18 Professional Corporations. The clinicians working at the Professional Corporations

provide general practice clinical services, psychiatry care, and dental care, among other clinical

services, to patients.     In 2023, Professional Corporations in the aggregate generated over

$674,000,000 in revenue for the benefit of the Debtors.

                                The Professional Corporation Contracts

       10.      The Debtors’ relationships with the Professional Corporations are contractual in

nature. In most cases, Debtor entities provide management and other services in accordance with

management      services    agreements   entered       into   with   the   Professional   Corporations

(the “PC Management Services Agreements”). The management services provided by the Debtors

pursuant to the PC Management Services Agreements typically include, but are not limited to, the

following: managing provider enrollment in government and commercial payor programs;

managing billings and collections; granting licenses allowing the Professional Corporations to use

the Debtors’ computer software and hardware; arranging for the purchase of supplies; ordering

medical equipment; hiring non-clinical and administrative personnel; protecting confidential

information; assisting with licensing and accreditation; and supporting the implementation of

policies and procedures, accounting and budgeting, contract negotiations, general legal services

and litigation needs, tax support, marketing and advertising needs, facility and fixture maintenance,

quality assurance and compliance, and other day-to-day administrative needs (such services,

collectively, the “PC Management Services”).

       11.      In addition to the PC Management Services Agreements, there are several other

contracts that govern the relationships between the Debtors, the PC Physicians, and

the Professional Corporations (collectively with the PC Management Services Agreements,

the “Professional Corporation Contracts”), as applicable, including the following:



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                •   Lease Agreements. Certain Professional Corporations are parties to real
                    property leases that may contain or be accompanied by guarantees with third
                    party landlords. A Debtor entity may guarantee a Professional Corporation’s
                    lease payments pursuant to a real property lease or a lease guarantee
                    (collectively, the “PC Lease Guarantees”); and

                •   Stock Transfer Agreements. The Debtors and certain PC Physicians are parties
                    to agreements (the “Stock Transfer Agreements”) that restrict the transfer of a
                    PC Physician’s stock in a Professional Corporation, thereby ensuring a
                    streamlined transition of ownership and the compliance with state professional
                    entity requirements in the event of certain transfer events (e.g., death and
                    disability). These restrictions in the Stock Transfer Agreements are intended to
                    promote continuity of care for the patients and the continuation of
                    administrative services by the Debtors.

          The Debtors’ Obligations Under the Professional Corporation Contracts

       12.      The Debtors have various ongoing obligations and incur certain costs under

the Professional Corporation Contracts. For instance, the Debtors maintain general liability

insurance for liabilities arising from the Debtors’ obligations under the PC Management Services

Agreements (the “Insurance Coverage”).

       13.      The Debtors may also be required, pursuant to the PC Management Services

Agreements, to pay income taxes (“Income Tax Payments”) on behalf of the Professional

Corporation. The Debtors file consolidated federal taxes with certain Professional Corporations,

while the Professional Corporations file individually (or jointly with other Professional

Corporations if there are shared owners) for state tax purposes. Additionally, the Debtors may

collect a Professional Corporation’s accounts receivable, including from governmental and

commercial payors, as permitted, and deposit such collections into such Professional Corporation’s

bank account (such services, the “Collection Services”).

       14.      Under the Stock Transfer Agreements, the Debtors have authority to ensure that the

Professional Corporation is duly licensed and qualified, which may require the Debtors to incur

certain legal and operational costs (collectively, the “Licensing Costs,” and, together with the PC

Management Services, the Insurance Coverage, the Income Tax Payments, the Collection Services,


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and all other costs arising from the Professional Corporation Contracts, the “PC Operating Costs”).

         15.      In 2023, the Debtors remitted approximately $720,000,000 to the PC Physicians

and vendors as part of the PC Operating Costs pursuant to the Existing Professional Corporation

Contracts. The Debtors believe that, as of the Petition Date, no prepetition amounts are due and

payable under the Existing Professional Corporation Contracts. The Debtors are seeking authority

to pay the PC Operating Costs pursuant to the Cash Management Motion 4, the Taxes Motion 5, the

Insurance Motion 6, and the Wages Motion 7, as applicable. For the avoidance of doubt, to the

extent not authorized by relief requested in those motions, the Debtors seek authority to (a) pay

accrued and outstanding PC Operating Costs, regardless of whether asserted prior to, on, or after

the Petition Date, (b) continue paying all PC Operating Costs as they become due and in the

ordinary course of business on a post-petition basis, and (c) continue providing the applicable PC

Lease Guarantees.

         16.      In addition to the PC Operating Costs, at times the Debtors also pay, pursuant to

the PC Management Services Agreements, the Professional Corporation’s legal expenses and

indemnify the Professional Corporation for certain losses, including, to the extent applicable,



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    See Debtors’ Emergency Motion for Entry of Interim and Final Orders (I) Authorizing the Debtors to (A) Continue
    to Operate Their Cash Management System and Maintain Existing Bank Accounts, and (B) Maintain Existing
    Business Forms and Books and Records, (II) Waiving Deposit Requirements, (III) Allowing Intercompany
    Transactions and Affording Administrative Expense Priority to Post-Petition Intercompany Claims, and
    (IV) Granting Related Relief, filed contemporaneously herewith.
5
    See Debtors’ Emergency Motion for Entry of an Order (I) Authorizing Debtors to Pay Certain Prepetition Taxes
    and Fees and (II) Granting Related Relief (the “Taxes Motion”), filed contemporaneously herewith.
6
    See Debtors’ Emergency Motion for Entry of Interim and Final Orders (I) Authorizing the Debtors to (A) Continue
    Insurance Coverage Entered into Prepetition and Satisfy Prepetition Obligations Related Thereto, (B) Honor and
    Renew the Premium Financing Agreements Entered into Prepetition and Satisfy Obligations Related Thereto,
    (C) Renew, Amend, Supplement, Extend, or Purchase Insurance Policies, (D) Continue to Pay Brokerage Fees,
    and (E) Maintain the Surety Bond Program and Letters Of Credit, and (II) Granting Related Relief
    (the “Insurance Motion”), filed contemporaneously herewith.
7
    See Debtors’ Emergency Motion for Entry of an Order (I) Authorizing the Debtors to (A) Pay Prepetition Wages,
    Salaries, Other Compensation, and Reimbursable Expenses, (B) Continue Employee Benefits Programs, and (II)
    Authorizing Current and Former Employees to Proceed with Outstanding Workers’ Compensation Claims, and
    (III) Granting Related Relief (the “Wages Motion”), filed contemporaneously herewith.



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losses caused by the Debtors’ provision of the management services (the “PC Indemnity and Legal

Expense Obligations”). Accordingly, the Debtors seek the authority, but not direction, to (a) pay

prepetition any outstanding prepetition PC Indemnity and Legal Expense Obligations in the

ordinary course of business, (b) continue to honor in the ordinary course of business any PC

Indemnity and Legal Expense Obligations relating to the Existing Professional Corporation

Contracts, and (c) honor any PC Indemnity and Legal Expense Obligations relating to new

Professional Corporation Contracts entered into during these chapter 11 cases (the “New

Professional Corporation Contracts”).

       17.      The Debtors’ ability to continue to provide management and administrative services

to Professional Corporations will constitute a material source of the Debtors’ operating revenues

during these chapter 11 cases. As of the Petition Date, the Debtors provide management services

to 18 Professional Corporations and are party to Professional Corporation Contracts under which

they currently perform services or performance is set to commence in the future (collectively,

the “Existing Professional Corporation Contracts”).

       18.      The Debtors’ ability to (a) maintain, in their discretion, certain of the Existing

Professional Corporation Contracts in the ordinary course and potentially execute extension

options thereto and (b) attract, seek, enter into, and secure New Professional Corporation Contracts

is important to the success of the Debtors’ ongoing operations.          The inability to provide

management services per desired existing relationships, or develop new management services

relationships with Professional Corporations, could greatly inhibit the Debtors’ ability to support

the Professional Corporations in providing high-quality clinical care to patients and fulfill their

contractual obligations under PC Management Services Agreements. The expiration, default,

termination, or cancellation of certain of the Existing Professional Corporation Contracts, or the

failure to execute New Professional Corporation Contracts, may negatively impact the Professional



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Corporations’ ability to provide high-quality patient care. Relatedly, the Debtors’ obligations to

indemnify the Professional Corporations and remit certain payments on behalf of the Professional

Corporations in accordance with the Existing Professional Corporation Contracts helps facilitate

the Debtors’ ongoing business of providing medical care. Even short-term interruptions to the

Debtors’ performance under certain of the Existing Professional Corporation Contracts could

threaten the Debtors’ ability to continue operating their businesses, to the detriment of all of their

stakeholders and existing patients. Further, the harm to the Debtors’ reputation that would result

from an inability to perform under the Existing Professional Corporation Contracts would likely

restrict the Debtors’ ability to obtain New Professional Corporation Contracts, thereby threatening

the Debtors’ ability to generate revenue and effectuate a successful restructuring.

                                          Basis for Relief

I.   Honoring and Paying Prepetition and Post-petition Obligations in Connection with
     Existing Professional Corporation Contracts and Attracting and Entering into New
     Professional Corporation Contracts Constitute a Sound Exercise of the Debtors’
     Business Judgment and is Necessary for the Preservation of the Debtors’ Estates.

       19.      The Debtors believe that their activities and obligations in connection with the

Professional Corporations—related to both (a) honoring and paying prepetition and post-petition

obligations in connection with Existing Professional Corporation Contracts and (b) attracting and

entering into New Professional Corporation Contracts —would be in the ordinary course of their

businesses because (y) they are commonplace and routine in the Debtors’ industry and

(z) the Debtors have regularly honored and paid such obligations, including the PC Operating

Costs. As a result, the Debtors believe that paying such amounts is warranted under section 363(c)

of the Bankruptcy Code, which authorizes a debtor to “enter into transactions, including the sale

or lease of property of the estate, in the ordinary course of business, without notice or a hearing.”

11 U.S.C. § 363(c)(1). Nevertheless, out of an abundance of caution, the Debtors seek entry of an

order authorizing the Debtors to honor and pay any prepetition and post-petition obligations in


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connection with Existing Professional Corporation Contracts, and attracting and entering into New

Professional Corporation Contracts, to the extent that such authorization is required under section

363(b) of the Bankruptcy Code.

       20.     Section 363(b)(1) of the Bankruptcy Code empowers a court to allow a debtor to

“use, sell, or lease, other than in the ordinary course of business, property of the estate.” 11 U.S.C.

§ 363(b)(1). A debtor’s decision to use, sell, or lease assets outside the ordinary course of business

must be based upon the sound business judgment of the debtor. See In re Cont’l Air Lines, Inc.,

780 F.2d 1223, 1226 (5th Cir. 1986) (“[F]or the debtor-in-possession or trustee to satisfy its

fiduciary duty to the debtor, creditors and equity holders, there must be some articulated business

justification for using, selling, or leasing the property outside the ordinary course of business”).

Courts emphasize that the business judgment standard is not an onerous standard; rather it “is

flexible and encourages discretion.” In re ASARCO, L.L.C., 650 F.3d 593, 601 (5th Cir. 2011);

In re Perez, 339 B.R. 385, 399 n. 14 (Bankr. S.D. Tex. 2006), aff’d sub nom. Perez v. Peake, 373

B.R. 468 (S.D. Tex. 2007) (“Section 363(b) should be interpreted liberally to provide a bankruptcy

judge with substantial freedom to tailor his orders to meet differing circumstances and to avoid

shackling the judge with unnecessary rigid rules.” (cleaned up)). As such, courts exhibit “[g]reat

judicial deference . . . to [a debtor’s] exercise of business judgment.” GBL Holding Co., Inc. v.

Blackburn/Travis/Cole, Ltd., 331 B.R. 251, 254 (N.D. Tex. 2005). Indeed, as long as a transaction

“appears to enhance a debtor’s estate, court approval of a debtor-in-possession’s decision to [enter

into the transaction] should only be withheld if the debtor’s judgment is clearly erroneous, too

speculative, or contrary to the Bankruptcy Code.” Richmond Leasing Co. v. Capital Bank, N.A.,

762 F.2d 1303, 1309 (5th Cir. 1985) (cleaned up).

       21.     The Debtors submit that, to the extent that the use of property of the estate is

implicated here, the relief requested in this Motion represents a sound exercise of the Debtors’



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business judgment, is necessary to avoid immediate and irreparable harm, and is justified under

section 363 of the Bankruptcy Code.         As noted above, the Debtors have various ongoing

obligations arising under the Professional Corporation Contracts, and failure to continue to satisfy

such obligations risks disruption of a material source of the Debtors’ operating revenues during

these chapter 11 cases.     The Debtors’ ability to (a) maintain, in their discretion, Existing

Professional Corporation Contracts in the ordinary course and potentially execute extension

options thereto and (b) attract, seek, enter into, and secure New Professional Corporation Contracts

is critical to the Debtors’ long-term success and viability.

       22.     Furthermore, the Debtors submit that honoring and paying prepetition and post-

petition obligations in connection with the Existing Professional Corporation Contracts, and to the

extent relevant, any New Professional Corporation Contracts, is necessary and appropriate and,

therefore, may be authorized by this Court under section 105(a) of the Bankruptcy Code, pursuant

to what is referred to interchangeably as the “doctrine of necessity” or “necessity of payment rule.”

The doctrine of necessity functions in a chapter 11 case as a mechanism by which the bankruptcy

court can exercise its equitable powers to allow payment of critical prepetition claims not explicitly

authorized by the Bankruptcy Code. See In re Mirant Corp., 296 B.R. 427, 429 (Bankr. N.D. Tex.

2003) (applying the rule where the “Debtors’ businesses [would be] seriously damaged by the

delay required to satisfy the court that a particular creditor should be paid its prepetition claim

outside of a confirmed plan”); In re Lehigh & New England Ry. Co., 657 F.2d 570, 581 (3d Cir.

1981) (noting that a court may authorize payment of prepetition claims when payment is essential

to continued operation of the debtor, such as where there is a “possibility that the creditor will

employ an immediate economic sanction, failing such payment”); In re Just for Feet, Inc., 242

B.R. 821, 824–25 (D. Del. 1999) (holding that section 105(a) of the Bankruptcy Code “provides a

statutory basis for the payment of pre-petition claims” under the doctrine of necessity).



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       23.     The United States Supreme Court first articulated the doctrine of necessity 140

years ago, in Miltenberger v. Logansport Ry. Co., in affirming the authorization by the lower court

of the use of receivership funds to pay pre-receivership debts owed to employees, vendors, and

suppliers, among others, when such payments were necessary to preserve the receivership property

and the integrity of the business in receivership. See Miltenberger v. Logansport Ry. Co., 106 U.S.

286, 311–12 (1882); In re Ionosphere Clubs, Inc., 98 B.R. 174, 175–76 (Bankr. S.D.N.Y. 1989).

This doctrine has become an accepted component of modern bankruptcy jurisprudence, and courts’

application of it largely adheres to the Supreme Court’s reasoning in Miltenberger. See Ionosphere

Clubs., 98 B.R. at 175–76; In re Equalnet Commun. Corp., 258 B.R. 368, 369 (Bankr. S.D. Tex.

2000) (noting that “courts in this district” have applied this doctrine “primarily out of common

sense and the presence of a legal or factual inevitability of payment”); In re CoServ, L.L.C., 273

B.R. 487, 497 (Bankr. N.D. Tex. 2002) (recognizing the “doctrine of necessity”).

       24.     The Court’s power to utilize the “doctrine of necessity” in these chapter 11 cases

derives from the Court’s inherent equity powers and its statutory authority to “issue any order,

process, or judgment that is necessary or appropriate to carry out the provisions of this title.” 11

U.S.C. § 105(a); see also U.S. v. Energy Res. Co., 495 U.S. 545, 549 (1990) (section 105(a) of the

Bankruptcy Code is “consistent with the traditional understanding that bankruptcy courts, as courts

of equity, have broad authority to modify creditor-debtor relationships”).         “The debtor-in-

possession’s role as the equivalent of a trustee under § 1107(a) and its duty to protect the going-

concern value of an operating business in a Chapter 11 provides the bridge that makes application

to the Doctrine of Necessity necessary or appropriate to carry out the provisions of the Bankruptcy

Code.” In re CEI Roofing, Inc., 315 B.R. 50, 56 (Bankr. N.D. Tex. 2004) (cleaned up).

       25.     The doctrine of necessity is frequently invoked early in a reorganization,

particularly in connection with those chapter 11 sections that relate to payment of prepetition



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claims. For instance, courts have acknowledged “the principle that a bankruptcy court may

exercise its equity powers under § 105(a) to authorize payment of prepetition claims where such

payment is necessary to ‘permit the greatest likelihood of survival of the debtor and payment of

creditors in full or at least proportionately.’” In re StructureLite Plastics Corp., 86 B.R. 922, 931

(Bankr. S.D. Ohio 1988) (citations omitted). In some situations, a “per se rule proscribing the

payment of prepetition indebtedness may well be too inflexible to permit the effectuation of the

rehabilitative purposes of the Code.” Id. at 932. Accordingly, pursuant to section 105(a) of

the Bankruptcy Code, the Court is empowered to grant the relief requested herein.

        26.    Here, the Debtors’ ability to maintain, in their discretion, certain of the Existing

Professional Corporation Contracts and secure New Professional Corporation Contracts in a timely

manner is an important part of the Debtors’ ongoing operation of their businesses, which could be

negatively impacted under certain circumstances if the relationships with certain PC Physicians

and Professional Corporations are adversely affected by these chapter 11 cases.            Many of

these relationships comprise an important part of the Debtors’ businesses, and interruptions to

the Debtors’ ability to continue meeting their obligations to such parties in the ordinary course may

hinder the Debtors’ success in these chapter 11 cases. Furthermore, the interruption, expiration,

termination, or cancellation of certain of the Existing Professional Corporation Contracts, or the

failure to execute New Professional Corporation Contracts, may hamper the Debtors’ ability to

generate revenue and effectuate a successful restructuring. Accordingly, the Debtors’ ability to

perform under desired Existing Professional Corporation Contracts falls within the sound business

judgment of the Debtors and would benefit, rather than prejudice, the Debtors’ creditors by

preserving the property of the Debtors’ estates. The Debtors, therefore, submit that the relief

requested herein is appropriate under the doctrine of necessity and section 105(a) of the Bankruptcy

Code.



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       27.     Based upon the foregoing, the Debtors submit that the relief requested herein is

essential, appropriate, and in the best interests of the Debtors’ estates and stakeholders. Absent

this relief, the value of the Debtors’ estates would suffer, possibly precipitously. Consequently,

the Debtors’ stakeholders would benefit if the requested relief is granted.

II.   The Automatic Stay and Anti-Discrimination Provisions Should be Extended to the
      Professional Corporations Pursuant to Section 105 of the Bankruptcy Code.

       28.     Pursuant to section 362 of the Bankruptcy Code, the automatic stay enjoins all

persons from, among other things, taking any action to obtain possession of property of the estate

or to exercise control over property of the estate. See 11 U.S.C. § 362(a)(3). Though the automatic

stay usually only applies to the debtors, the Fifth Circuit has recognized that “an exception to this

general rule does exist, and a bankruptcy court may invoke § 362 to stay proceedings against non-

bankrupt co-defendants where ‘there is such identity between the debtor and the third-party

defendant that the debtor may be said to be the real party defendant and that a judgment against

the third-party defendant will in effect be a judgment or finding against the debtor.’” Reliant

Energy Servs., Inc. v. Enron Canada Corp., 349 F.3d 816, 825 (5th Cir. 2003) (quoting A.H.

Robins Co. v. Piccinin, 788 F.2d 994, 999 (4th Cir. 1986)).        Courts have also extended the

automatic stay under section 362 of the Bankruptcy Code to non-debtors through the

equitable powers of section 105 of the Bankruptcy. See A.H. Robins Co., 788 F.2d at 1003.

       29.     The Fifth Circuit has also recognized that extending the automatic stay is

appropriate when the non-debtor co-defendants are indemnified by the debtor. See Arnold v.

Garlock, Inc., 278 F.3d 426, 436 (5th Cir. 2001). Furthermore, the automatic stay can be extended

when “actions against non-debtors . . . involve property of the estate or would have a significant

impact on the debtor’s ability to reorganize.” Carway v. Progressive Cnty. Mut. Ins. Co., 183 B.R.

769, 775 (S.D. Tex. 1995) (citing In re Kelton Motors Inc., 121 B.R. 166, 193 (Bankr. D. Vt.




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1990)).      Such “party’s interest must be so intertwined that it is considered to be the real party

in interest.” Id. (quoting A.H. Robins Co., 788 F.2d at 1001).

           30.   Additionally, section 525 of the Bankruptcy Code prohibits and enjoins any and all

governmental units from, among other things, (a) denying, revoking, suspending, or refusing to

renew any permit, license, charter, franchise, or other similar grant to any Debtor, (b) placing

conditions upon such a grant to any Debtor, or (c) discriminating against any Debtor with respect

to such a grant, solely because the Debtor is a debtor under the Bankruptcy Code, may have been

insolvent prior to the Petition Date, is insolvent during the pendency of these chapter 11 cases, or

has not paid a dischargeable debt (collectively, the “Anti-Discrimination Provisions”).

           31.   The Debtors seek to extend the automatic stay and Anti-Discrimination

Provisions to the Professional Corporations on a limited basis solely with respect to actions

against the Professional Corporations that may be triggered under the Professional Corporation

Contracts or the Professional Corporations’ organizational documents.           As discussed above,

the Debtors maintain an interest in the Professional Corporations, and the Professional Corporation

Contracts the Professional Corporations’ organizational documents constitute executory contracts

subject to section 365 of the Bankruptcy Code.         Creditor or governmental interference with the

functioning of the Professional Corporations would, thus, implicate the property of the Debtors’

estates.     Furthermore, the Professional Corporations compose a significant part of the Debtors’

business, as the Debtors rely on the revenue stream pursuant to the Debtors’ ownership interests in

the Professional Corporations.     The ability of the Professional Corporations to operate normally

without the threat of creditor intrusion is critical to the reorganization efforts of the Debtors and

any limitations on the Professional Corporations’ ordinary course operations would have an

outsized impact on the property of the Debtors’ estates and the Debtors’ ability to reorganize.




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       32.     The Debtors also seek this relief due to the indemnification obligations owed by

the Debtors to certain Professional Corporations under the applicable Professional Corporation

Contracts. The Debtors both owe formal PC Indemnity and Legal Expense Obligations to certain

of the Professional Corporations and also frequently defend and settle certain disputes arising from

the PC Management Services Agreements in accordance with their business judgment.             Such

indemnification obligations effectively render the Debtors the primary defendant in these disputes.

Thus, a judgment against the Professional Corporation essentially represents a judgment against

the Debtors.      Accordingly, extending the automatic stay in this limited circumstance is

appropriate in light of the Debtors’ indemnification obligations to the Professional Corporations.

III. The Court Should Authorize Applicable Banks and Financial Institutions to Honor and
     Process Related Checks and Transfers.

       33.     The Debtors also request that the Court authorize all applicable banks and financial

institutions to (a) receive, process, honor, and pay all checks presented for payment of, and to

honor all fund transfer requests made by the Debtors related to, the claims that the Debtors request

authority to pay in this Motion, regardless of whether the checks were presented or fund transfer

requests were submitted before, on, or after the Petition Date (provided that funds are available in

the Debtors’ accounts to cover the checks and fund transfers), and (b) rely on the Debtors’

designation of any particular check as approved by the Order.

       34.     The Debtors believe that they have sufficient liquidity to pay the amounts set forth

in this Motion in the ordinary course of business and have implemented controls to ensure that

prepetition claims will not be paid out except as authorized by the Court. The Debtors, therefore,

submit that the payment-processing procedures described in this Motion are appropriate.

                                   Emergency Consideration

       35.     Pursuant to Bankruptcy Local Rule 9013-1(i), the Debtors request emergency

consideration of this Motion pursuant to Bankruptcy Rule 6003. Bankruptcy Rule 6003 provides


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that, “[e]xcept to the extent that relief is necessary to avoid immediate and irreparable harm, the

court shall not, within 21 days after the filing of the petition, issue an order granting . . . (b) a

motion to use, sell, lease, or otherwise incur an obligation regarding property of the estate,

including a motion to pay all or part of a claim that arose before the filing of the petition . . . .”

Fed. R. Bankr. P. 6003. As set forth in this Motion and the First Day Declaration, the Debtors

believe that an orderly transition into chapter 11 is critical to the viability of

the Debtors’ businesses, operations, and estates and that any delay in granting the relief requested

herein could cause immediate and irreparable harm. The Debtors also believe that they may need

to make upcoming payments on account of obligations under Professional Corporation Contracts

during the first 21 days of these chapter 11 cases. Failure to receive the requested relief during the

first 21 days of these chapter 11 cases could imperil the Debtors’ restructuring and cause immediate

and irreparable harm. Accordingly, the Debtors submit that the relief requested herein satisfies the

“immediate and irreparable harm” standard of Bankruptcy Rule 6003 and request that the Court

approve the relief requested in this Motion on an emergency basis.

    Compliance with Bankruptcy Rule 6004(a) and Waiver of Bankruptcy Rule 6004(h)

       36.     To implement successfully the relief sought herein, the Debtors request that

the Court find that notice of the Motion is adequate under Bankruptcy Rule 6004(a) under the

circumstances. The Debtors also request that, to the extent applicable to the relief requested in this

Motion, the Court waive the stay imposed by Bankruptcy Rule 6004(h), which provides that “[a]n

order authorizing the use, sale, or lease of property other than cash collateral is stayed until the

expiration of 14 days after entry of the order, unless the court orders otherwise.” Fed. R. Bankr.

P. 6004(h). As described above, the relief that the Debtors seek in this Motion is necessary for

the Debtors to operate their businesses without interruption and to preserve value for their estates

and economic stakeholders. Accordingly, the Debtors respectfully submit that ample cause exists



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to justify the (a) finding that the notice requirements under Bankruptcy Rule 6004(a) have been

satisfied and (b) waiving of the 14-day stay imposed by Bankruptcy Rule 6004(h), as the exigent

nature of the relief sought herein justifies immediate relief.

                                       Reservation of Rights

       37.     Nothing contained herein or any actions taken pursuant to the relief requested in

this Motion is intended or shall be construed as (a) an admission as to the amount of, basis for, or

validity of any claim against a Debtor entity under the Bankruptcy Code or other applicable

nonbankruptcy law, (b) a waiver of the Debtors’ or any other party in interest’s right to dispute any

claim on any grounds, (c) a promise or requirement to pay any claim, (d) an implication or

admission that any particular claim is of a type specified or defined in this Motion or any order

granting the relief requested by this Motion or a finding that any particular claim is an

administrative expense claim or other priority claim, (e) a request or authorization to assume,

adopt, or reject any agreement, contract, or lease (including any Professional Corporation Contract)

pursuant to section 365 of the Bankruptcy Code, (f) an admission as to the validity, priority,

enforceability, or perfection of any lien on, security interest in, or other encumbrance on property

of the Debtors’ estates, (g) a waiver or limitation of the Debtors’ or any other party in interest’s

rights under the Bankruptcy Code or any other applicable law, or (h) a concession by the Debtors

that any liens (contractual, common law, statutory, or otherwise) that may be satisfied pursuant to

the relief requested in this Motion are valid, and the rights of all parties in interest are expressly

reserved to contest the extent, validity, or perfection or seek avoidance of all such liens. The

Debtors also expressly reserve their rights to contest any claims related to any Professional

Corporation Contract under applicable bankruptcy and non-bankruptcy law. Likewise, if the Court

grants the relief sought herein, any payment or transfer made pursuant to the Court’s order is not

intended, and should not be construed as, an admission as to the amount, priority, character, or



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validity of any claim or a waiver of the Debtors’ or any other party in interest’s rights to

subsequently dispute such claim.

                                               Notice

       38.     Notice of this Motion will be provided to the following parties or their respective

counsel: (a) the Office of the United States Trustee for the Southern District of Texas; (b) the

holders of the 30 largest unsecured claims against the Debtors (on a consolidated basis); (c) counsel

to the DIP Lenders; (d) counsel to the Ad Hoc Group; (e) counsel to the Prepetition First Lien

Administrative Agent; (f) counsel to the Prepetition Second Lien Administrative Agent; (g) the

Office of the United States Attorney for the Southern District of Texas; (h) the state attorneys

general for states in which the Debtors conduct business; (i) the Internal Revenue Service; (j) the

Securities and Exchange Commission; and (k) any party identified in section E of the Procedures

for Complex Cases in the Southern District of Texas (collectively, the “Notice Parties”). A copy

of this Motion and the Order approving it will also be made available on the Debtors’ case

information website located at https://dm.epiq11.com/Wellpath. Based on the urgency of the

circumstances surrounding this Motion and the nature of the relief requested, the Debtors

respectfully submit that no other or further notice is required.

                            [Remainder of page intentionally left blank]




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       WHEREFORE, the Debtors respectfully request that the Court enter the Order,

substantially in the form annexed hereto, granting the relief requested herein and such other and

further relief as the Court deems appropriate under the circumstances.

 Dated: November 12, 2024         /s/ Marcus A. Helt
 Dallas, Texas                    Marcus A. Helt (Texas Bar #24052187)
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                                  -and-

                                  Felicia Gerber Perlman (pro hac vice admission pending)
                                  Bradley Thomas Giordano (pro hac vice admission pending)
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                                  Proposed Counsel to the Debtors and Debtors in Possession
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                                     Certificate of Accuracy

        I certify that the facts and circumstances described in the above pleading giving rise to the
emergency request for relief are true and accurate to the best of my knowledge, information, and
belief. This statement is being made pursuant to Bankruptcy Local Rule 9013-1(i).

                                              /s/ Marcus A. Helt
                                              Marcus A. Helt


                                      Certificate of Service

       I certify that, on November 12, 2024, I caused a copy of the foregoing document to be
served via the Electronic Case Filing System for the United States Bankruptcy Court for the
Southern District of Texas.

                                              /s/ Marcus A. Helt
                                              Marcus A. Helt
